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5
     Attorney for Defendant
6    JEROME WILLIAMS
7
8                        IN THE UNITED STATES DISTRICT COURT
9                       FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,       )      No. Cr. F 08-232 LJO
                                     )
12                  Plaintiff,       )      STIPULATED MOTION TO REDUCE
                                     )      SENTENCE PURSUANT TO 18 U.S.C.
13        v.                         )      § 3582(c)(2); ORDER
                                     )
14   JEROME WILLIAMS,                )      RETROACTIVE CRACK COCAINE
                                     )      REDUCTION CASE
15                  Defendant.       )
                                     )      Judge:   LAWRENCE J. O’NEILL
16   _______________________________ )
17        Defendant, JEROME WILLIAMS, by and through his attorney, Assistant
18   Federal Defender David M. Porter, and plaintiff, UNITED STATES OF
19   AMERICA, by and through its counsel, Assistant U.S. Attorney KIMBERLY
20   A. SANCHEZ, hereby stipulate as follows:
21        1.   Pursuant to 18 U.S.C. § 3582(c)(2), this court may reduce the
22   term of imprisonment in the case of a defendant who has been sentenced
23   to a term of imprisonment based on a sentencing range that has
24   subsequently been lowered by the Sentencing Commission pursuant to 28
25   U.S.C. § 994(o);
26        2.   On November 25, 2009, this Court sentenced Mr. Williams to an
27   aggregate term of imprisonment of 96 months, comprised of 48 months
28   each counts 82 and 140, to be served consecutively, for violation of 21
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1    U.S.C. § 843(b);
2         3.      Mr. Williams’s original base offense level was 30, his total
3    offense level was 27, and his criminal history category was IV, but the
4    resulting guideline range was the statutory maximum of 96 months;
5         4.      The sentencing range applicable to Mr. Williams was
6    subsequently lowered by the United States Sentencing Commission in
7    Amendment 750;
8         5.      Mr. Williams’s base offense level has thereby been reduced
9    from 30 to 26, his new total offense level is 23, and with a criminal
10   history category of IV, the new resulting guideline range is 70 to 86
11   months;
12        6.      Accordingly, the parties request the court enter the order
13   lodged reducing Mr. Williams’s term of imprisonment to an aggregate
14   term of 70 months, to be comprised of a term of 35 months on each of
15   counts 82 and 140, to be served consecutively.
16   Dated:     November 17, 2011
17   Respectfully submitted,
18   BENJAMIN B. WAGNER                        DANIEL J. BRODERICK
     United States Attorney                    Federal Defender
19
20
       /s/ Kimberly A. Sanchez                   /s/ David M. Porter
21   KIMBERLY A. SANCHEZ                       DAVID M. PORTER
     Assistant U.S. Attorney                   Assistant Federal Defender
22
     Attorney for Plaintiff                    Attorney for Movant
23   UNITED STATES OF AMERICA                  JEROME WILLIAMS
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     STIPULATED MOTION and ORDER TO REDUCE SENTENCE
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1                                             ORDER
2             This matter came before the Court on the stipulated motion of the
3    defendant for reduction of sentence pursuant to 18 U.S.C. § 3582(c)(2).
4             The parties agree, and the Court finds, that Mr. Williams is
5    entitled to the benefit of the retroactive amendment reducing crack
6    cocaine penalties, which reduces the total offense level from 27 to 23,
7    and an appropriate sentence within the new applicable guideline range
8    would be 70 months.
9             IT IS HEREBY ORDERED that the term of imprisonment imposed on
10   November 25, 2009 is reduced to an aggregate term of 70 months, to be
11   comprised of a term of 35 months on each of counts 82 and 140, to be
12   served consecutively.
13            IT IS FURTHER ORDERED that all other terms and provisions of the
14   original judgment remain in effect.
15            Unless otherwise ordered, Mr. Williams shall report to the United
16   States Probation office closest to the release destination within
17   seventy-two hours after his release.
18   IT IS SO ORDERED.
19   Dated:     November 18, 2011             /s/ Lawrence J. O'Neill
     b9ed48                               UNITED STATES DISTRICT JUDGE
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     STIPULATED MOTION and ORDER TO REDUCE SENTENCE
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